                           Case 2:13-cr-00024-BMM Document 355 Filed 10/18/17 Page 1 of 7
J\O 245C (Rev. 09/17) Amended Judgment in a Criminal Case                                                                      (NOTE: ldentif) Changes wnh Astensks (*))
                      Shee1 I



                                             UNITED STATES DISTIUCT COURT
                                                                        District of Montana
                 UN ITED STATES OF AMERI CA
                                       v.
                                                                                   ~    AMENDED JUDGMENT IN A                                CIUMIF41!.E D
                                                                                   )    Case tumber: CR 13-24-BU- SEH-01
                     J ESUS PIM ENTEL-LOPEZ
                                                                                   )    USM Number: 71382 -097
                                                                                                                                                          OCT 18 2017
Date of Origina l Judgment:                 9/30/2014                              ~ _T_ i.,..-m_o_th_,,y_M_.B_e_c_h_to_ld_-'-(A_,,p~p_o_in_te_d~)_*_ _ _....,Clerk, 11 s Oistrid Court
                                            (Or Date of last Amended J11dgme111)   )    Defendant"s Attorney                                              District Of Montana
Reaso n for Amend ment:                                                                                                                                          Helena
                                                                                   )
l!f" Correction of Sentence on Remand (1 8 U.S.C. 3742(1)(1) and (2))              )
                                                                                        0 Modif1cat1on of Supervisio n Conditions ( 18 U.S.C. §§ 3563(r) or 35 83(e))
0   Reduction of Sentence for Changed Circumstances (Fed R. Crim.                       O Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                      )        Compelling Reasons ( 18 U.S C. § 35 82(c X 1))
0 Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))              )    0 Modification of Imposed Term o f Imprisonment fo r Retroactive Amcndment(s)
                                                                                   )        to the Sentencing Guidelines ( 18 U.S C. § 3582(c)(2))
0 Correction of Sentence fo r Clerical Mistake (Fed. R. Crim. P. 36)               )
                                                                                   )
                                                                                        0 Direct Motion to Dist rict Court Pursuant 0 28 U.S.C. § 2255 or
                                                                                          0 18 U.S.C. § 3559(cX7)
                                                                                   )
                                                                                        0 Mod1f1cat1on of Restitution Order (18 U.S.C. § 36M)
T H E DEFENDANT:
O   pleaded guilty to count(s)
O pleaded nolo contcndcrc to count(s)
    which was accepted by the court.
l!f" was found gu il ty on count(s)          I and II o f the Indictment
                                            ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~--~~~~-




    aft er a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                                      Offense End ed
 21 U.S.C. § 846                      Conspiracy to Possess with Intent to Distribute Methamphetamine                        Feb.2013

 21 U.S.C. § 841 (a)(1 )              Possession with Intent to Distribute Methamphetamine                                   Feb.2013                         II


       The defendant is sentenced as provided in pages 2 through _ __ •7___ ofthis judgment. The sentence is imposed pursuant to
the Sentencing Reform /\cl of 1984.
O   The defendant has been fo und not guilty on count(s)
O   Count(s)                                                    O is    O are d ismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States /\ttorncy for this district within 30 days of any change of name, residence,
or mail ing address until all fines, restitution, costs, and special assessments imposed by thisj udgment are fully paid. If ordered to pay restitution,
the def'endant must notify the court and United States attorney o f material changes in economic c ircumstances.
                                                                                         9/29/2014




                                                                                        1gnature of Judge
                                                                                        Sam E. Haddon , United States Di strict Judge
                                                                                          ame and T itle of Judge
                                                                                         10/17/2017
                                                                                                      ~-~~--~~~~


                                                                                       Date
                       Case 2:13-cr-00024-BMM Document 355 Filed 10/18/17 Page 2 of 7
AO 245C (Rev. 09/17) Amended Judgment in a Criminal Case
                     Sheet 2 - Imprisonment                                                                   (NOTE Identify Changes with Asterisks('))
                                                                                                         Judgment -   Page     2      of         7
D EFENDANT: JESUS PIMENTEL-LOPEZ
CASE NUMBER: CR 13-24-BU-SEH-01

                                                               IMPRISONMENT

        The defendant is hereby committed lo the custody of the Federal Bureau of Prisons to be impri soned for a
total term of:
 *63 months on Count I and *63 months on Count II to run *consecutively, one with the other. *Upon Defendant's release
from custody, it is ordered that he be remanded to th e custody and control of the United States Bureau of Immigration and
Customs Enforcement, as it has been established he is an alien who may be subject to deportation proceedings.


0       The court makes the follow ing recommendations to the Bureau of Prisons :




r!f     The defendant is remanded to the custody of the United States Marshal.

0       The defendant shall surrender to the U nited States Marshal for thi s distri ct:

        0     at                                   0       a.m.     D     p.m.       on
       D      as notified by the Un ited States Marshal.

0      The defendant shall surrender fo r service of sentence at the institution designated by the Bureau of Prisons:

        0     before 2 p.m. on
       D      as notified by the United States Marshal.

       D      as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                               to

at                                                         with a certified copy of th is judgment.




                                                                                                      lJNITED STATES MARSI !AL



                                                                             By
                                                                                                  DE PU rv UN ITED STATES MARSHAL
                        Case 2:13-cr-00024-BMM Document 355 Filed 10/18/17 Page 3 of 7
 AO 245C (Rev. 09/ 17) Amended Judgment in a Criminal Case
                       Sheet 3 - Supervised Release                                                       (NOTE: Identify Changes with Asterisks(*))
                                                                                                                       3_
                                                                                                       Judgment-Page _ _          of         7
 D EFENDANT: JESUS PIMENTEL-LOPEZ
 CASE NUMB ER: CR 13-24-BU-SEH-01
                                                         SUPERVISED RELEASE
Upon release from imprisonment, you will be on s uperv ised rel ease for a term of :

 *10 years on Count I and 10 years on Count II to run concurrently, one with the other. While on supervised release, the
Defendant shall not enter the United States without proper application to and receiving permission from the Bureau of
Immigration and Customs Enforcement. Th e term of supervised release will be "inactive" while the Defendant is not resid ing
in the United States. If the Defendant returns to the United States, either legally or illegally, within 72 hours of return, he is to
report to the nearest United States Probation Office and shall be subject to active supervised release supervision.




                                                     MANDATORY CONDITIONS

I. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any un lawful use ofa contro lled substance. You must submit to one drug test within 15 days of rel ease fro m
   imprisonment and at least two periodic drug tests thereafter, as determined by the court.
        O The above drug testing condition is suspended, based on the court's determination that you pose a low risk of fu' urc
              substa nce abuse. (ch eck if applicable)
4. 0 You must makc resti:ut ion in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
        restitution. (check ifapplicable)
5. [!1' You must cooperate in the collection ofD A as directed by the probation officer. (check if applicable)
6. D You must co mply w ith the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq. ) as
        directed by the probation officer, the Bureau of Priso ns, or any state sex offender registration agency in the location where you
        reside, work, a re a student, or were convicted of a qualifying offense. (check if applicable)
7. O You must parti c ipate in a n approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as ;veil as wi th any other conditions on thc attached
page.
                         Case 2:13-cr-00024-BMM Document 355 Filed 10/18/17 Page 4 of 7
AO 24 5C (Rev. 09/17) Am~ n dc d .Judgment in a Criminal Case
                      Sheet 3A -- S upervised Release
                                                                                                           Judgment- Page
                                                                                                                            - - - of
DEFENDANT: JESUS PIMENTEL-LOPEZ
CASE NUMBER: CR 13-24-BU-SEH-01

                                         ST Al\1DARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the follow ing standard conditions of supervision. These conditions arc imposed
because they establish the basic expectations fo r your beh.ivior while on supervision and identify the minimum tools needed hy probation
officers to keep informcd, report to the court about, and bri ng about improvements in your conduct and condition.

1.     You must report to the prohation office in the federal judicial district vvhere you are authorized to reside with in 72 hours of your
       release from imprisonment. unless the probation officer instructs you to report to a different probation office or within a different
       time frame.
2.     After initially reporting to the probation office, you wi ll receive instructions from the court or the probation officer about how and
       when you must rcport to the probati on offi cer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal j udicial district where you are authorized to res ide without fi rst getting permission from
       the court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
S.     You must live at a place approved by the probation officer. If you plan to change where you live or an) thing about your living
       arrangements (such as the people you live with), you must notify the probation officer at !cast I 0 days before the change. If notifyi ng
       the probation officer in advance is not possi ble due lO unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to vis it you at any time at your home or elsewhere, and you must permit the probation officer
       to take any items prohibited by the co nditions of your supervision that he or she observes in plain view.
7.     You must work fu ll time (at least 30 hours per week) at a lawfu l type of employment, unless the probation offi cer excuses you from
       doing so. If you do not have full-ti me employment you must try to fi nd full-ti me employment, unless the probation officer excuses
       you from doing so. If ) ou plan lo change where you work or anythi ng about your work (such as your position or your job
       responsibilities), you must noti fy the probation o fficer at least 10 days before the change. If notify ing the probation officer at least 10
       days in advance is not possible due to unanticipated ci rcumstances, you must notify the probation onicer within 72 hou rs of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in crim inal act:vity. If you know someone has been
       convicted of a felony, you must not knowingly commun icate or interact with that person without fi rst getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement offi cer, you must noti fy the probation officer with in 72 hou rs.
10.    You must not own, possess, or have access to a firearm, ammuni tion, destruct ive device, or dangerous weapon (i.e., anything that
       was designed, or was modi tied for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
       tasers).
11 .   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getti ng the permis ~i on of the court.
12.    If the probation offi cer determines that you pose a risk to another person (including an organi zation), the pro bation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confi rm that you have notifi ed the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supe1vision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions speci fi ed by the court and has prov ided me with a written copy of this
j udgment containing these condi tions. For further information regardi ng these condi tions, sec OvervielV of Probation and S upervised
Release Conditions, avai lable at: www.uscourts.gov.

Defendant's Signature                                                                                         Date
                       Case 2:13-cr-00024-BMM Document 355 Filed 10/18/17 Page 5 of 7
AO 245C (Rev. 09117) Amended Judgment in a Criminal Case
                     Sheet 3D - Supervised Release                                              (NOTE Identify Changes with Asterisks("))
                                                                                             Judgment- Page   ____5__ of
DEFENDANT: JESUS PIMENTEL-LOPEZ
CASE NUMBER: CR 13-24-BU-SEH-01

                                        SPECIAL CONDITIONS OF SUPERVISION
  *1. The Defendant must surrender to United States Immigration and Customs Enforcement and follow all instructions and
  reporting requirements of that agency until any and all deportation proceedings are completed .

  *2. If Defendant is ordered deported from the United States, he is to remai n outside tl'le United States, unless legally
  authorized to reenter. If Defendant reenters the United States, he must report to the nearest probation office within 72
  hours of return to the United States.

  *3. The defendant shall submit his person, residence, place of employment, vehicles, and papers, to a search, either with
  or without a warrant by any probation officer based on reasonable suspicion of contraband or evidence in violation of a
  condition of release. Failure to submit to search may be grounds for revocation. The defendant shall warn any other
  occupants that the premises may be subject to searches under the terms of this cond ition. The defendant shall allow
  seizure of suspected contraband for further examination.

  *4. The defendant shall participate in and successfully complete a program of substance abuse treatment as approved by
  United States Probation, until the defendant is released from the program by the probation officer. The defendant is to pay
  part or all of the cost of this treatment, as directed by United States Probation.

  *5. The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is a
  primary item of sale.

  *6. The defendant shall participate in substance abuse testing, to include not more than 365 uri nalysi s tests, not more than
  365 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supervision . The
  defendant shall pay all or part of the costs of testing as directed by United States Probation.

  *7. The defendant shall not possess, ingest or inhale any toxic substances such as, but not limited to, synthetic marijuana
  or other synthetic stimulant that is not manufactured for human consumption, for the purpose of altering his mental or
  physical state.

  *8. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a medical
  marijuana card or prescription.
                         Case 2:13-cr-00024-BMM Document 355 Filed 10/18/17 Page 6 of 7
AO 245C (Rev. 09/1 7) Amended Judgment in a Crim inal Case
                      Sheet 5 - Crimi nal Monetary Penalties                                                   (NOTE· Identify Changes with Asterisks(•))
                                                                                                        Judgment - Page _    6.._    of --~--
DEFENDANT: JESUS PI MENTEL-LOPEZ
CASE NUMBER: CR 13-24-BU-SEH-01
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the fo llowing total crimina l monetary penalties under the schedule of payments on Sheet 6.
                      Assess ment                   JVTA Assess men t*   Fine                                 Res titution
TOTALS             s 200.00                       $ NIA                $ WAIVED                             S N/A

D The determ ination of restitution is deferred until _ _ _ _· An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

D The defendant shal I make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a part ial payment, each pavee shall receive an approx imate!)' proportioned payment, unless specified otherwi se in
     the priority or.der or perc.entage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all non federal victi ms must be paid
     before the United States 1s paid.

Name of Payee                                  Total Loss**                     Restitution Ordered                      Priorit v or Pcrcentnce




TOTALS                               s ________o_.o_o_                      $                      0.00


D     Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fi ne of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day a Iler the date of the judgment, pursuant to 18 U.S.C. § 36 I 2(f). AII of the payment options on Sheet 6 ma) be subject
     to penalties for de linquency and default, pursuan t to 18 U.S.C. § 36 12(g).

D    The court determined that the defendant does not have the ability to pay interest, and it is ordered th at:

     D the interest requirement is waived fo r             D fi ne    0 restitution.
     D the interest requirement for the           D fi ne       D restitution is modified as follows:


•Justice fo r Victims of Traffick ing Act of2015, Pub. L. 1o. 114-22.
** Findings fo r the total amount of losses are required under Chapters I 09A, 110, 11OA, and 11J A of Tit le 18 fo r offenses committed on or
after September 13, 1994, but befo re April 23, 1996 .
                        Case 2:13-cr-00024-BMM Document 355 Filed 10/18/17 Page 7 of 7
AO 245C (Rev. 09/ t7) Amended Judgment in a Cri minal Case
                      Sheet 6 - Schedule of Payments                                                              (NOTE· Identify Changes with Asterisks(•))
                                                                                                              Judgment -          7_
                                                                                                                           Page _ _       Clf        7
DEFENDAN T: JESUS PIMENTEL-LOPEZ
CASE NUMBER: CR 13-24-BU-SEH-01

                                                      SCHEDULE OF PAYMENTS

Havin g assessed the defendant's ability to pay, payment o f the total criminal moneta ry penalti es shall be due as fo llows:

A     O    Lump sum payment of S - - -- - --                    due immediately, balance due

           D not later than - -- - - -- - - - - , or
           D in accordance with D C, D D, O E, or                            O F below; or
B     O    Payment to begin im mediately (may be combined with              D C,        D     D, or   O F below); or
C     D   Payment in equal                 (e.g., week ly, monthly, quarterly) insta llments of $                      over a period of
          _ _ _ _ _ (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Paymen t in equal               (e.g., weekly, month ly, quarterly) installments of S                    over a period o f
          _ _ _ _ _ (e.g., months or years), to commence                    (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision : or

E     O    Payment duri ng the term of supervised release will commence within              (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendan t's ability to pay at that time; or

F     r!f Special instru ctions regarding the payment of c riminal monetary penalties:
            Criminal monetary penalty payments are due during imprisonment at the rate of not less than $25 per quarter, and
            payment shall be through the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal monetary
            payments shall be made to th e Clerk, United States District Court, P.O. Box 8537, Missoula, MT 59807
            **Assessment Jesus Pimentel-Lopez••.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalt ies is due
during the period o f imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau o f Prisons'
Inmate Financial Responsibil ity Program, are made to the clerk o f the court.

The defend ant shall receive c redit for all payments previous ly made toward any criminal moneta ry penalties imposed.




0    Joint and Several

     Defendant and Co-Defenda nt Names and Case N umbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    T he defendant shall pay the fo llowing court cost(s):

0    T he defendant sha ll forfeit the defendant's interest in the following property to the Un ited lates:




Payments shall be applied in 1he fo llowing order: ( I) assessment, (2) restitution principal! (3) restitution intcrest 1 (4) fi ne pri ncipal, (5) fi ne
interest, (6) communi ty restitution, (7) JVTA assessment, (8) penal ties, and (9) costs, me udmg cost of prosecuuon and court costs.
